Case 22-52950-pmb        Doc 40    Filed 06/10/22 Entered 06/10/22 14:36:26              Desc Main
                                   Document     Page 1 of 8


                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:
                                                          CHAPTER 11
ATLANTA LIGHT BULBS, INC.,
                                                          CASE NO. 22-52950-pmb
      Debtor.
_____________________________________

TANDEM BANK,
                                                          CONTESTED MATTER
         Movant,
v.

ATLANTA LIGHT BULBS, INC.

         Respondent.


         SUPPLEMENT TO MOTION TO DISMISS BANKRUPTCY CASE (REQUESTING
                CONVERSION TO CHAPTER 7 AS ALTERNATIVE RELIEF)

         COMES NOW Tandem Bank and hereby files this Supplement to Motion to Dismiss

Bankruptcy Case (Requesting Conversion to Chapter 7 as Alternative Relief) (the “Supplement”)

supplementing the Motion to Dismiss (Doc. No. 23) (the “Motion to Dismiss”). Tandem Bank

shows the Court as follows:

                                          JURISDICTION

         1.    This Court has jurisdiction to consider this Motion to Dismiss under 28 U.S.C. §§

157 and 1334. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409. This

matter is a core proceeding pursuant to 28 U.S.C. § 157(b)

                                         BACKGROUND

         2.    On April 15, 2022 (“Petition Date”), Halco Lighting Technologies, LLC, Candela

Corporation, and Norcross Electric Supply Company filed an involuntary petition (Doc. No.1)

(the “Involuntary Petition”) for relief against Atlanta Light Bulbs, Inc. (“Debtor”) under Chapter 11

of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq., (the “Bankruptcy Code”).

         3.    Debtor is a Georgia corporation which, upon information and belief, was in the
Case 22-52950-pmb       Doc 40    Filed 06/10/22 Entered 06/10/22 14:36:26           Desc Main
                                  Document     Page 2 of 8


lighting business (“Business”) and operates or operated out of leased premises located at 2109

Mountain Industrial Blvd, Tucker, GA 30084 (the “Mountain Industrial Premises”) and leased

office space located at 2 Sun Court, Suite 460 Peachtree Corners, GA 30092 (the “Office

Premises”).

       4.      Debtor filed no timely response to the Involuntary Petition. Debtor’s response to

the Involuntary Petition was due May 13, 2022. No lawyer or representative of Debtor has

appeared as of the date hereof.

       5.      On May 23, 2022, the Court entered an Order for Relief (Doc. No. 21) under

Chapter 11.

       6.      On May 25, 2022, Tandem Bank filed the Motion to Dismiss.

       7.      No counsel has appeared for Debtor in this bankruptcy case, and Debtor has not

filed any schedules or pleadings in this bankruptcy case.

       8.      Tandem Bank holds a first priority security in all of Debtor’s assets securing

indebtedness in the principal amount of $600,000.00, plus pre-petition interest, post-petition

interest, attorney’s fees and charges as allowed by law, as evidenced by a Promissory Note (the

“Note”), Business Loan Agreement (the “Loan Agreement”), and Security Agreement dated

September 2, 2020 and UCC financing statement filed in the records of the Clerk of Superior

Court of Dekalb County on September 14, 2020, as File No. 044-2020-004114 (the “UCC”).

(The Note, Loan Agreement, Security Agreement, and UCC are collectively referred to herein as

the “Loan Documents”). Tandem Bank’s collateral includes Debtor’s Cash Collateral.

       9.      Debtor has not filed a motion to use cash collateral and no request regarding the

use of cash collateral has been received by Tandem Bank. Tandem Bank opposes the use of

cash collateral.

       10.     Sun Court Partners, LP (“Sun Court”), landlord for the Office Premise, filed its

Motion for Relief from the Automatic Stay, for Rejection of the Lease Nunc Pro Tunc and for

Abandonment of Any Property in the Premises (Doc. No. 28) (the “Sun Court Stay Relief

                                                2
Case 22-52950-pmb        Doc 40    Filed 06/10/22 Entered 06/10/22 14:36:26              Desc Main
                                   Document     Page 3 of 8


Motion”) and seeks to recover the Office Premises and have any remaining assets abandoned

to Sun Court.

       11.      On June 8, 2022, Tandem Bank filed its (i) Motion for Relief from the Automatic

Stay (Doc. No. 33) (“Tandem Stay Relief Motion”), and (C) Motion Requesting Entry of Order

Prohibiting Use of Cash Collateral (Doc. No. 35) (“Cash Collateral Motion”).

       12.      Upon information and belief, Jessica Mendoza, appeared on behalf of Debtor at

the initial debtor interview conducted by the United States Trustee in this Bankruptcy Case and

averred that Debtor began winding down operations upon the filing of the Involuntary Petition

and laid off all employees in mid-May 2022.

       13.      Upon information and belief, all of Debtor’s assets are fully encumbered by

Tandem Bank’s secured claim pursuant to the Loan Documents.

       14.      On Friday, June 3, 2022, a representative of Tandem Bank inspected the Office

Premises, and the Office Premises had been vacated with the only remaining items being: (i) 3

– 5 cubicle office systems; (ii) 8 – 3 drawer cabinets which slide under the cubicle desks; (iii) 1 –

4 door credenza and (iv) 1 – office chair (collectively, the “Office Premises Contents”). Tandem

Bank holds a first priority lien on the Office Premises Contents.

       15.      Tandem Bank’s collateral is additionally located at the Mountain Industrial

Premises.

       16.      Tandem Bank’s collateral is not being protected and no fiduciary is managing this

Bankruptcy Estate. Tandem Bank’s collateral is likely dissipating.

       17.      The petitioning creditors have indicated they intend to oppose the Motion to

Dismiss for reasons including the possible existence of avoidance actions against Debtor’s

insiders and others.

       18.      Tandem Bank supplements the Motion to seek the alternate relief of conversion

to chapter 7 in the even the Court declined to dismiss the bankruptcy case.




                                                 3
Case 22-52950-pmb         Doc 40    Filed 06/10/22 Entered 06/10/22 14:36:26          Desc Main
                                    Document     Page 4 of 8


                                         Relief Requested

       19.     Tandem Bank’s Motion to Dismiss specifically requested that the bankruptcy

case be dismissed pursuant to 11 U.S.C. § 1112(b). Tandem Bank files this Supplement to

seek the alternate relief of conversation to chapter 7, which is authorized by 11 U.S.C. §

1112(b) and therefore available for the Court’s action pursuant to the Motion to Dismiss.

Additionally, the Motion to Dismiss seeks “such other and further relief as this Court deems just

and proper.” Accordingly, the Court may convert the case pursuant to the Motion to Dismiss,

but Tandem Bank files this Supplement for alternate relief out of an abundance of caution.

                                    STATUTORY PREDICATES

       20.     Under Section 1112(b) of the Bankruptcy Code, a court “shall convert a case

under [chapter 11] to a case under chapter 7 or dismiss a case under [chapter 11], whichever is

in the best interest of creditors and the estate, for cause...” 11 U.S.C. § 1112(b); In re Albany

Partners, Ltd., 749 F.2d 670, 674 (11th Cir. 1984); In re Blunt, 236 B.R. 861, 864 (Bankr. M.D.

Fla. 1999).

       21.     Additionally, a court may act under 11 U.S.C. § 1112(b) sua sponte as necessary

and appropriate under 11 U.S.C. § 105(a). See In re A-1 Specialty Gasolines, Inc., 238 B.R. 876

*878 (Bankr. S.D. Fla. 1999) (collecting cases authorizing action under 1112(b) sua sponte).

       22.     A determination of cause is made by the court on a case-by-case basis. See

Albany Partners, 749 F.2d at 674.

                    Absence of a Reasonable Likelihood of Rehabilitation

       23.     One such ground for cause exists where a party-in-interest shows that there is a

“substantial or continuing loss to or diminution of the estate and the absence of a reasonable

likelihood of rehabilitation”.   11 U.S.C. § 1112(b)(4); Preferred Door Co., 990 F.2d at 549;

Sullivan Cent. Plaza I, 935 F.2d at 728.       Courts have additionally found cause where no

bankruptcy purpose would be served by the continuation of the case. See In re Forum Health,

444 B.R. 848, (Bankr. N.D. Ohio, 2011). Thus, the Court may convert the Debtor’s Chapter 11

                                                4
Case 22-52950-pmb        Doc 40     Filed 06/10/22 Entered 06/10/22 14:36:26           Desc Main
                                    Document     Page 5 of 8


case where it is reasonably shown that the Debtor is unable to effectuate a plan or where there

is no bankruptcy purposes served by continuation of the bankruptcy.

       24.     Inability to effectuate a plan arises when a debtor lacks the capacity to “formulate

a plan or carry one out” or where the “core” for a workable plan of reorganization “does not

exist.” See Preferred Door, 990 F.2d at 549 (quoting Hall v. Vance, 887 F.2d 1041, 1044 (10th

Cir. 1989)) (inability to effectuate a plan arises where debtor lacks capacity to formulate a plan

or carry one out); Blunt, 236 B.R. at 865 (cause found to dismiss debtor’s case under Section

1112(b)(2) where “core” for a workable plan of reorganization found to be nonexistent). Such is

the case here. Here, Debtor is not operating, there is no fiduciary managing the estate, the

estate appears to be administratively insolvent, and there is no reasonable reorganization in

prospect.

       25.     Additionally, Debtor ceased operating around the time of the filing of the

Involuntary Petition and is not protecting the estate’s assets. The Office Premises has been

cleaned out, and the location of the previous contents of the same are unknown. Because there

is a “substantial or continuing loss to the estate”, cause exists for conversion of this case under

11 U.S.C. § 1112(b)(4)(A).

                                         CONCLUSION

       WHEREFORE, Tandem Bank respectfully request that this Court enter an Order (a)

dismissing the Debtor’s Chapter 11 case under Section 1112(b) of the Bankruptcy Code, or, in

the alternative converting the case to chapter 7 and (b) granting such other and further relief as

this Court deems just and proper.

       Respectfully submitted this 10th day of June, 2022.

                                               JONES & WALDEN LLC
                                               /s/ Leslie M. Pineyro
                                               Leslie M. Pineyro
                                               Georgia Bar No. 969800
                                               Attorney for Tandem Bank
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Case 22-52950-pmb        Doc 40    Filed 06/10/22 Entered 06/10/22 14:36:26              Desc Main
                                   Document     Page 6 of 8


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                            NORTHERN DISTRICT OF GEORGIA
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IN RE:
                                                              Chapter 11
ATLANTA LIGHT BULBS, INC.,
                                                              Case No. 22-52950-pmb
         Debtor.

                                  CERTIFICATE OF SERVICE

        This is to certify that I have on this day electronically filed the foregoing Supplement to
Motion to Dismiss Bankruptcy Case (Requesting Conversion to Chapter 7 as Alternative Relief)
(the “Supplement”) using the Bankruptcy Court’s Electronic Case Filing program, which sends a
notice of and an accompanying link to the Motion to the following parties who have appeared in
this case under the Bankruptcy Court’s Electronic Case Filing Program:

   •     John C. Cannizzaro john.cannizzaro@icemiller.com
   •     Thomas Dworschak thomas.w.dworschak@usdoj.gov, ltctommyd@aol.com
   •     Kathleen G. Furr kfurr@bakerdonelson.com,
         lgoforth@bakerdonelson.com;ali.lowe@bakerdonelson.com
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        I further certify that I have served a copy of the Supplement on the parties listed below
via method indicated and on the parties listed on the attached mailing matrix via U.S. first-class
mail, postage prepaid:

Via Hand Delivery:                                  Via Email:
Atlanta Light Bulbs, Inc.                           American Express Travel Related Services
Attn: Jeffrey Mangieri, Registered Agent            Company, Inc.
2 Ravinia Drive, Suite 1530                         c/o Zwicker & Associates, P.C.
Atlanta, GA 30346                                   bkproofofclaim@zwickerpc.com

Via Federal Express Overnight:                      Via Email:
Atlanta Light Bulbs, Inc.                           CBC Lighting Inc.
Attn: Jessica Mendoza, CEO                          c/o Bryan Kaplan, Esq.
2109 Mountain Industrial Blvd                       bk@kaplanlawga.com
Tucker, GA 30084
                                                    Via Email:
Via Email:                                          Fanlight Corporation, Inc.
Worldwide Specialty Lamp, LLC                       c/o Simpson, Uchitel & Wilson, LLP
c/o Bryan Kaplan, Esq.                              cwilson@suwllp.com
bk@kaplanlawga.com

                                                7
Case 22-52950-pmb      Doc 40    Filed 06/10/22 Entered 06/10/22 14:36:26   Desc Main
                                 Document     Page 7 of 8


Via Email:
Hatch Transformers, Inc.
d/b/a Hatch Lighting
c/o Simpson, Uchitel & Wilson, LLP
cwilson@suwllp.com


       This 10th day of June, 2022.

                                         JONES & WALDEN LLC
                                         /s/ Leslie M. Pineyro
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               Case 22-52950-pmb       Doc 40   Filed 06/10/22            Entered 06/10/22 14:36:26      Desc Main
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                                                Document           Related 8Services
                                                                              of 8 Co.     Atlanta Light Bulbs, Inc.
113E-1                                     c/o Zwicker and Associates, P.C.                2109 Mountain Industrial Blvd
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                                           Atlanta, GA 30328
                                           atlanta, GA 30328-4038

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